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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES DISTRICT COURT                              March 05, 2020
                       FOR THE SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                 HOUSTON DIVISION

ANKUS, L.L.C,                                   §
                                                §
                      Plaintiff,                §
                                                §
VS.                                             §           CIVIL ACTION NO. H-19-3365
                                                §
WELLS FARGO BANK, N.A.,                         §
                                                §
                      Defendant.                §

                                     FINAL JUDGMENT

       For the reasons stated in this court’s Memorandum and Opinion entered this date, this civil

action is dismissed with prejudice. This is a final judgment.

               SIGNED on March 5, 2020, at Houston, Texas.


                                             _______________________________________
                                                                Lee H. Rosenthal
                                                         Chief United States District Judge
